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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., ef ai.,' Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

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Objection Deadline: January 3, 2017 at 4:00 p.m.

DEBTORS’ SEVENTH NOTICE OF CLAIMS SATISFIED IN FULL OR IN PART

The above-captioned debtors and debtors in possession (collectively, the “Debtors”), file

this notice (the “Notice’”’), pursuant to Del, Bankr. L.R. 3007-1(e)(iii)()(2), identifying certain

Claims (as defined below) filed in the above-captioned chapter 11 cases, which have been

satisfied or released postpetition in full or in part (the “Satisfied Claims”). Each of the Satisfied
Claims is listed in Exhibit A and Exhibit B attached hereto, which are incorporated herein by
reference and are also accessible at the following website maintained by Epiq Bankruptcy
Solutions, LLC (“Epiq’), the Debtors’ court-appointed claims agent: www.ethcaseinfo.com. In

support of this Notice, the Debtors respectfully state as follows.

Background
1. On April 29, 2014 (the “Petition Date”), each of the Debtors filed a voluntary

petition with the Court under the Bankruptcy Code. The Debtors are operating their businesses
and managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code. The Court has entered a final order for joint administration of these

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, which are being jointly administered, a complete list of the
debtors and the last four digits of their federal tax identification numbers is not provided herein. A

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Chapter 11 cases [D.I. 849]. The Court has not appointed a trustee. The Office of the United
States Trustee for the District of Delaware formed an official committee of unsecured creditors
of Energy Future Competitive Holdings Company LLC (““EFCH”), Texas Competitive Electric
Holdings Company LLC (“TCEH”), the direct and indirect Debtor subsidiaries of EFCH and
TCEH, and EFH Corporate Services Company on May 13, 2014 [D.I. 420] and an official
committee of unsecured creditors of Energy Future Holdings Corp., Energy Future Intermediate
Holding Company, LLC, EFIH Finance, Inc., and EECI, Inc. on October 27, 2014 [D.I. 2570].
Further information regarding the Debtors’ business operations and capital structure is set forth
in the declaration of Paul Keglevic in support of the Debtors’ first day motions [D.1. 98], the
Third Amended Disclosure Statement for the Second Amended Joint Plan of Reorganization of
Energy Future Holdings Corp., et al, Pursuant to Chapter 11 of the Bankruptcy Code as it
Applies to the TCEH Debtors and EFH Shared Services Debtors [D.1. 8747], and the Disclosure
Statement for the Fifth Amended Joint Plan of Reorganization of Energy Future Holdings Corp.,
et al., Pursuant to Chapter 11 of the Bankruptcy Code as it Applies to the EFH Debtors and
EFIH Debtors [D.I. 10293]. Additionally, on August 29, 2016, the Court entered the Order
Confirming the Third Amended Joint Plan of Reorganization of Energy Future Holdings Corp.,
et al, Pursuant to Chapter 11 of the Bankruptcy Code as it Applies to the TCEH Debtors and
EFH Shared Services Debtors, confirming the plan of reorganization as to the TCEH Debtors

and EFH Shared Services Debtors (“Confirmed TCEH Plan”), effective as of October 3, 2016

[D.F. 9421],
2. On June 30, 2014, the Debtors filed their schedules of assets and liabilities

(the “Schedules”) and statements of financial affairs (“Statements” and together, with the

complete list of such information may be obtained on the website of the debtors’ claims and noticing

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Schedules, the “Schedules and Statements”) [D.J. 1237-1307, 1319-1329, 1331-1343, 1345],

On September 26, 2014, the Debtors filed their amended Schedules and Statements [D.I. 2146-
2216], addressing certain discrete issues. Additionally, in the ordinary course of business, the
Debtors maintain books and records that reflect, among other things, the Debtors’ aggregate
liabilities and the specific amounts owed to each of their creditors.

3. On May 2, 2014, the Court entered an order establishing October 27, 2014, at

5:00 p.m. (prevailing Eastern Time) (the “Customer Claims Bar Date”) as the final date and time

for certain customer claimants holding or asserting a claim against the Debtors arising on or

before the Petition Date to file proofs of claim (the “Customer Proofs of Claim”) in these chapter

11 cases and approving the form and manner of notice of the Customer Claims Bar Date
[D.I, 307].

4, On August 18, 2014, the Court entered an order (the “General Bar Date Order’)

establishing October 27, 2014, at 5:00 p.m. (prevailing Eastern Time) (the “General Bar Date”)

as the final date and time for all persons and entities holding or asserting a claim against the
Debtors arising on or before the Petition Date to file proofs of claim in these chapter 11 cases

(the “Non-Customer Proofs of Claim”), except for claims specifically exempt from complying

with the General Bar Date as set forth in the General Bar Date Order, and approving the form
and manner of notice of the General Bar Date [D.I. 1866],

5. On July 30, 2015, the Court entered an order (the “Asbestos Bar Date Order”)

establishing December 14, 2015, at 5:00 p.m. (prevailing Eastern Time) (the “Asbestos Bar
Date”), as the final date and time for all persons and entities holding or asserting a manifested or

unmanifested asbestos claim against the Debtors arising on or before the Petition Date to file

agent at http:/Avww.efhcaseinfo.com.

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proofs of claim in these chapter 11 cases (the “Asbestos Proofs of Claim” and, together with the

Customer Proofs of Claim and the Non-Customer Proofs of Claim, the “Proofs of Claim’),

except for claims specifically exempt from complying with the Asbestos Bar Date as set forth in
the Asbestos Bar Date Order, and approving the form and manner of notice of the Asbestos Bar
Date [D.1L. 5171].

6. As of the date hereof, the Debtors and Epiq have identified on the Debtors’

register of claims (the “Claims Register”), which register is prepared, maintained, and provided

by Epig, approximately 40,000 Proofs of Claim (collectively, the “Claims”) filed against the
Debtors in these chapter 11 cases by persons purporting to be holders of Claims
(the “Claimants”). The Debtors and their advisors are in the process of comprehensively
reviewing and reconciling the Claims with the Debtors’ books and records to determine the
validity of the Claims.

Claims Satisfied After the Petition Date

7. In connection with their review of their books and records, the Debtors have

identified certain Claims or portions of Claims, as set forth in Exhibit A and Exhibit B hereto,

ie. the Satisfied Claims, that either are postpetition liabilities, which were satisfied in the
ordinary course of business, or have been satisfied by the Debtors or released after the Petition
Date pursuant to (a) the Confirmed TCEH Plan, (b) agreements and/or other documents executed
by the Claimants releasing the Satisfied Claims held against the Debtors, or (c) an order of this
Court, including, but not limited to the: (i) Final Order (A) Authorizing the Debtors To (D Pay
Certain Prepetition Compensation and Reimbursable Employee Expenses, (H) Pay and Honor
Employee and Retiree Medical and Similar Benefits, and (II) Continue Employee and Retiree
Benefit Programs, and (B) Modifying the Automatic Stay [D.1. 786]; and (ii) Final Order

Authorizing The Debtors To Pay Certain Prepetition Taxes And Fees [D.1. 799].

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8. Accordingly, the Debtors intend to designate on the Claims Register the Satisfied
Claims listed on Exhibit A as having been previously satisfied in full and the Satisfied Claims
listed on Exhibit B as (i) having been previously satisfied in part and (ii) as remaining in the
amounts and priorities listed under the heading “Remaining Claims” in the attached Exhibit B.
Out of an abundance of caution, the Debtors will serve this Notice on all holders of Satisfied
Claims to provide them with an opportunity to interpose an objection, if any, to the Debtors’
determination that such Claims have been fully satisfied.

Responses to the Notice

9, By this Notice, the Debtors request that any holder of a Satisfied Claim who
disputes the Debtors’ determination that its Claim has been satisfied or released file a written
response (the “Response”) with the Office of the Clerk of the United States Bankruptcy Court for
the District of Delaware (the “Clerk”), 824 North Market Street, Wilmington, Delaware 19801.
In addition, such Claimant must serve its Response upon the following entities, so that the
Response is received no later than January 3, 2017 at 4:00 p.m, (Eastern Standard Time)

(the “Response Deadline”): (a) Kirkland & Ellis LLP, 601 Lexington Avenue, New York, NY,

10022, Attn: Brian Schartz; (b) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, IL 60654,
Attn: Chad Husnick and Steven Serajeddini; and (c) Richards, Layton & Finger, P.A., One
Rodney Square, 920 North King Street, Wilmington, DE 19801, Attn: Jason M. Madron.

10, Every Response must contain, at a minimum, the following information:

a. a caption setting forth the name of this Court, the name of the Debtors, the
case number, and the title of this Notice;

b, the name of the Claimant, the number of his/her/its Satisfied Claim, and a
description of the basis for the amount of the Satisfied Claim that the
Claimant is contesting has not been satisfied;

c. the specific factual basis, supporting legal argument and any supporting
documentation, to the extent such documentation was not included with

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the Satisfied Claim previously filed with the Clerk or Epig, upon which
the Claimant will rely in opposing this Notice and the Debtors’
determinations set forth therein; and

d. the name, address, telephone number, electronic mail address, and fax
number of the person(s) (which may be the Claimant or its legal
representative) with whom counsel for the Debtors should communicate
with respect to the Satisfied Claim or the Notice and who possesses
authority to reconcile, settle, or otherwise resolve any issues relating to the
Satisfied Claim on behalf of the Claimant.

11. Upon the Debtors’ receipt of a Response, the Debtors will then make a good faith
effort to review the relevant Satisfied Claim in light of such Response, to determine whether
there is a basis upon which to sustain the Claimant’s assertion that its Claim in fact is not a
Satisfied Claim. In the event the parties are unable to reach a resolution, the Debtors will
schedule a hearing on the Satisfied Claim. The Debtors reserve the right to contest any new
assertions of liability against the Debtors made by the holders of Satisfied Claims with respect to
their Claims.

12. If a Claimant fails to file and serve a timely Response by the Response Deadline,
(i) the Claimant is deemed to have consented to the Notice and the Debtors’ determinations with
respect to its Satisfied Claim, as set forth therein, and (ii) Epiq shall immediately, and without
further notice to any party (including the Claimant), mark such Satisfied Claim as fully satisfied
on the Claims Register.

Reservation of Rights

13. The Debtors expressly reserve the right to (a) amend, modify or supplement this
Notice, and (b) file additional objections to any claims in these chapter 11 cases, including,
without limitation, objections to the Satisfied Claims, or any other claims (filed or not) that have

been or may be asserted against the Debtors’ estates.

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14. Notwithstanding anything contained in this Notice or the attached exhibit, nothing
herein shall be construed as a waiver of any rights that the Debtors may have: (a) to bring
avoidance actions under the applicable provisions of the Bankruptcy Code against the holder of
any disputed claim, or (b) to exercise their rights of setoff against the holders of such claims
relating to such avoidance actions.

[Remainder of page intentionally left blank, |

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Dated: December 2, 2016
Wilmington, Delaware

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